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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10   ALEJANDRO RODRIGUEZ,                  ) Case No. CV-07-3239-TJH (RNBx)
     ABDIRIZAK ADEN FARAH,                 )
11   YUSSUF ABDIKADIR, ABEL PEREZ          ) MEMORANDUM OF POINTS AND
     RUELAS, JOSE FARIAS CORNEJO,          ) AUTHORITIES IN SUPPORT OF
12   ANGEL ARMANDO AYALA, for              ) PETITIONERS’ MOTION FOR
     themselves and on behalf of a class of) CLARIFICATION OF THE CLASS
13   similarly-situated individuals,       ) DEFINITION
                                           )
14                Petitioners,             ) Honorable Terry J. Hatter
                                           )
15                v.                       ) DATE: June 3, 2013
                                           ) TIME: Under Submission
16   ERIC HOLDER, United States Attorney ) PLACE: Courtroom 17
     General; JANET NAPOLITANO,            )
17   Secretary, Homeland Security;         )
     THOMAS G. SNOW, Acting Director, )
18   Executive Office for Immigration      )
     Review; TIMOTHY ROBBINS, Field        )
19   Office Director, Los Angeles District )
     Immigration and Customs Enforcement; )
20   WESLEY LEE, Officer-in-Charge, Mira )
     Loma Detention Center; et al.;        )
21   RODNEY PENNER, Captain, Mira          )
     Loma Detention Center; SANDRA         )
22   HUTCHENS, Sheriff of Orange County; )
     OFFICER NGUYEN, Officer-in-           )
23   Charge, Theo Lacy Facility; CAPTAIN )
     DAVIS NIGHSWONGER, Commander, )
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25   A. Musick Facility; ARTHUR            )
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     Administrator, Santa Ana City Jail,   )
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2         Petitioners have been forced to file this Motion to prevent the Government from
 3   arbitrarily limiting the impact of this Court’s preliminary injunction ruling and any
 4   future rulings in this case. Since the Court entered a preliminary injunction in favor of
 5   two of the four subclasses in this litigation, the Government has begun to exclude
 6   individuals from the class in violation of the plain language and manifest rationale of
 7   the class definition. From the time this Court certified the class, Petitioners have
 8   taken the consistent position that all individuals detained in the Central District whose
 9   detention exceeds six months are class members unless they fall into one of three
10   narrow exceptions, none of which are at issue here. These exceptions are clearly set
11   forth in the class definition that this Court incorporated in its order certifying the class
12   (which it entered after Respondents’ statement of non-opposition).
13         Nonetheless, Respondents have begun to assert additional, previously-
14   undisclosed exceptions to the categorical definition of the class that this Court
15   certified. On that basis, they have denied bond hearings to various individuals, even
16   though there is no viable legal rationale for interpreting the class definition to exclude
17   those individuals from the benefits of class membership. As of the present time,
18   Petitioners have discovered three groups of detainees that Respondents contend are
19   outside of the class definition: (1) those detained for proceedings initiated by
20   reinstatement of a prior removal order; (2) those detained for proceedings initiated by
21   an administrative removal order under 8 U.S.C. § 1228(b); and (3) those who entered
22   through the Visa Waiver Program. Dkts. 299 at 10 n.9; 302.
23         The Government justifies its position that these disputed groups of individuals
24   are not class members based on two theories. As to reinstatement and administrative
25   removal order cases, Respondents contend that the reference to “removal
26   proceedings” in the class definition is a technical term that applies only to certain
27   “types” of proceedings used to remove people from the United States. As to Visa
28   Waiver program cases, Respondents contend that these individuals are detained under


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 1   the authority of a previously-unidentified detention statute, even though the statute’s
 2   plain language nowhere grants the Government any detention authority. This Court
 3   should strongly reject the Government’s positions for several reasons.
 4         First, Respondents’ positions are irreconcilable with the plain language of this
 5   Court’s certification orders and the Ninth Circuit’s decision on class certification,
 6   which define the certified class to include all people with pending immigration cases
 7   in the Central District subject to prolonged detention without an adequate bond
 8   hearing. The only carve-outs from the class definition concern specific, narrow, and
 9   clearly defined categories, and Respondents have not (and cannot) claim that the
10   individuals at issue here fit within any of those carve-outs. 1
11         Despite the absence of any other carve-outs, the Government nonetheless takes
12   the position that this Court (and, presumably Petitioners, given that this Court
13   approved Petitioners’ proposed class definition, see Dkt. 77) implicitly meant to
14   include only persons subject to certain “types” of “removal proceedings,” and thereby
15   to exclude persons subject to other types of proceedings, even though all such
16   proceedings seek to remove people from the United States. Moreover, the
17   Government’s reading of the class definition cannot be reconciled with the fact that
18   the class already expressly includes people not subject to “removal proceedings” as
19   the Government narrowly understands that term. Thus, the Court should reject the
20   Government’s unilateral amendment of the class definition. See infra Section I.
21         Second, Respondents’ positions are in direct conflict with their own prior
22   practice in this case. Most damning to the their new position is that they have
23   repeatedly treated as class members individuals whom they now claim are not class
24   members. In fact, Respondents included such individuals in their discovery
25   1
      The carve-outs are for: (1) individual “detained pursuant to the one of the national
26   security detention statutes at 8 U.S.C. 1226a and 8 U.S.C. 1531-37”; (2) individuals
     subject to “a final order of removal and no stay of that removal order, such that the
27
     government has legal authority to remove them”; and (3) “juveniles … held under the
28   care of the Office of Refugee Resettlement.” Dkt. 111 at ¶¶105-08.

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 1   production of over 1,000 files for people Respondents identified as class members,
 2   and relied on evidence drawn from those cases in support of their argument that the
 3   certified class is not entitled to summary judgment. That Respondents treated such
 4   individuals as class members for purposes of summary judgment is fatal to their
 5   attempts to now exclude them from the class. See infra Sections I.A-B.
 6         Third, Respondents have not disclosed a rationale for treating certain removal
 7   proceedings differently from the proceedings that indisputably fall within the class.
 8   All class members, including those in the now-disputed categories, are incarcerated for
 9   prolonged periods while their immigration cases are pending without an adequate
10   opportunity to seek release on bond. Artificial distinctions about the particular
11   “types” of removal proceedings cannot mask the fundamental harm that all class
12   members subject to prolonged detention experience.
13         Petitioners engaged the Government for months in an attempt to resolve these
14   issues without resort to more motion practice, particularly given that the dispute bears
15   on the pending cross motions for summary judgment. Nonetheless, the Government
16   has refused to reconsider its position. For these reasons, Petitioners respectfully
17   request that the Court clarify that the class definition means what it says and, thus,
18   does not implicitly exclude the three groups of persons identified by Respondents, or
19   other groups of persons not within the express carve-outs contained in the plain
20   language of the class definition.
21                                       BACKGROUND
22         A.     The Parties and the Court Defined the Class As “All” Immigrants
23                Subject to Prolonged Detention Under The General Immigration
24                Detention Statutes Unless Specifically Exempted in the Class
25                Definition.
26         From the outset, Petitioners have sought to represent “all” persons in the
27   Central District with pending immigration cases who have been subject to prolonged
28   detention under any of the general immigration detention statutes, unless they fall into

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 1   three narrow exceptions. See Dkt. 111 at ¶¶ 105-08 (Third Amended Complaint); see
 2   also Dkt. 85. Petitioners proposed those three narrow carve-outs in light of unique
 3   legal issues associated with those detainees. See Dkt. 111 at ¶¶ 105-08; see also supra
 4   note 1.2 Petitioners’ express purpose for pursuing a broad class has been to bring an
 5   end to the Government’s practice of imprisoning people without hearings “while they
 6   litigate their removal cases.” See Dkt. 101 at 1-2. To eliminate any doubt about the
 7   breadth of the class, Petitioners specified that the class would encompass all of the
 8   “general detention” statutes under which immigrants may be detained during any type
 9   of removal proceedings, “including judicial review.” Dkt. 111 at 3-4 (Third Amended
10   Complaint) (defining “general immigration detention statutes” as including 8 U.S.C.
11   §1225(b); 8 U.S.C. §1226(a); 8 U.S.C. §1226(c); and 8 U.S.C. §1231(a)); Dkt. 101
12   (motion for class certification); Nadarajah v. Gonzales, 443 F.3d 1069, 1078-79 (9th
13   Cir. 2006) (repeatedly referring to “general detention statutes” in contrast to the two
14   national security statutes that explicitly contemplate prolonged detention).
15         During the first appeal in this case, the Ninth Circuit likewise recognized that
16   Petitioners brought this lawsuit to protect “a class of aliens detained in the Central
17   District of California for more than six months without a bond hearing while engaged
18   in immigration proceedings.” See Rodriguez v. Hayes, 591 F.3d 1105, 1111 (9th Cir.
19   2010) (emphasis added). Furthermore, the Ninth Circuit recognized that the
20   “immigration detention statutes implicated by the proposed class govern detention of
21
     2
22     Individuals detained under the national security statutes present a special case not
     only because those statutes explicitly contemplate prolonged detention, but also
23
     because they provide their own specifically-defined review processes for prolonged
24   detention cases. Individuals subject to the second exception – for people whom the
     Government has authority to deport – deserve different treatment because their on-
25
     going detention is the product of repatriation problems rather than the pendency of
26   their removal cases. And individuals in the third exception – juveniles in the custody
     of the Office of Refugee Resettlement – are not held in adult detention centers, and are
27
     therefore subject to fundamentally different circumstances, both factually and legally.
28   See generally Reno v. Flores, 507 U.S. 292 (1993).

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 1   aliens at different stages of the admission and removal process.” See Rodriguez v.
 2   Hayes, 591 F.3d 1105, 1113 (9th Cir. 2010). By approving certification, the Ninth
 3   Circuit endorsed Petitioners’ central argument that it was time to bring an end to
 4   “piece-meal rulings in habeas actions on the necessity of bond hearings to justify
 5   prolonged detention in the immigration context and … address the issue on a class-
 6   wide basis across the various general immigration detention statutes.” Id. at 116-17.
 7   The unanimous panel explained that:
 8                  Answering comprehensively in a class setting the
                    constitutional question that is at the center of the proposed
 9                  class’s claims will facilitate development of a uniform
                    framework for analyzing detainee claims to a bond hearing.
10                  This would render management of these claims more
                    efficient for the courts. It would also benefit many of the
11                  putative class members by obviating the severe practical
                    concerns that would likely attend them were they forced to
12                  proceed alone.
13   Id. at 1123.
14          On remand from that first appeal, the Government acknowledged the breadth of
15   the proposed class definition in a statement of non-opposition to Petitioners’ motion
16   for class certification. It described the class as including any “individuals who were
17   present in a [ICE] detention facility in the Central District . . . provided they had been
18   detained by ICE for more than six months at that time and remain detained with a
19   pending case ….” Dkt. 122 at 2 (emphasis added). In the orders certifying the class
20   and subclasses, this Court adopted Petitioners’ proposed class definition and held that
21   “the Class shall consist of all non-citizens within the Central District of California
22   who . . . are . . . detained for longer than six months pursuant to one of the general
23   immigration detention statutes pending completion of removal proceedings, including
24   judicial review ….” See Dkt. 77 (class certification order); Dkt. 161 (subclass
25   certification).
26
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 1         B.     Until Recently, The Government Did Not Dispute that the Class
 2                Consists of “All” Immigrants Subject to Prolonged Detention.
 3         Prior to this Court’s preliminary injunction ruling, the definition described
 4   above produced no ambiguity with respect to the groups of individuals that the
 5   Government has now sought to exclude from the class. During discovery, the
 6   Government identified 1,026 persons, whom it represented were class members
 7   detained between April 2011 and April 2012. See Kaufman Decl. ¶ 2. The
 8   Government confirmed on multiple occasions that all such individuals qualified as
 9   class members, including when the Government objected to Petitioners’ requests for
10   the production of A files for those class members. In discovery motion practice
11   arising from that objection, the parties jointly described this case as follows:
12                This case concerns a class of non-citizens who allege that
                  they (a) have been subjected to immigration detention in
13                excess of six months by Immigration and Customs
                  Enforcement (“ICE”) while their removal proceedings
14                remain pending and (b) have not been afforded a
                  constitutionally adequate hearing before an immigration
15                judge (“IJ”) where the Government has had to justify
                  continued detention. …. Petitioners claim that … any alien
16                who was or will be detained for six months or longer in the
                  Central District of California is entitled to a constitutionally-
17                adequate individualized hearing before an immigration
                  judge to justify their continued detention under any of four
18                detention provisions under the INA, specifically 8 U.S.C. §§
                  1225(b), 1226(a), 1226(c), and 1231(a).
19
20   Dkt. 165 at § 1 (“Nature of the Case and Procedural Background”); accord Dkt. 193 at
21   § 1 (describing this action in the same fashion). Pursuant to the Magistrate’s order,
22   the Government subsequently produced approximately 1,026 A files for class
23   members. See Kaufman Decl. at ¶2.
24         In that production, the Government included the A files of individuals who it
25   now claims are not class members. Specifically, the A files include a number of
26   people subject to detention pending completion of proceedings that were initiated
27   through the reinstatement of a prior removal order as well as at least one individual
28   detained after being admitted under the Visa Waiver program. Id. at ¶¶ 6-8.

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 1         The Government may attribute the inclusion of these individuals to oversight or
 2   neglect, but the parties explored at length whether each of the 1,026 individuals whose
 3   files were produced in the discovery were class members. Respondents’ own expert,
 4   for example, excluded two of the 1,026 individuals originally identified as class
 5   members based on his own analysis. See id. at ¶ 4; Dkt. 299, Exh. O at 6. In addition,
 6   Petitioners’ expert excluded approximately 83 individuals as not meeting the class
 7   definition, and Respondents examined her at length on the subject at her deposition.
 8   See Kaufman Dec. at ¶ 3. However, despite these past discussions and efforts to
 9   verify that each of the 1,026 individuals in the sample fall within the class definition,
10   at no point did the Government suggest that additional categories of individuals
11   should be excluded. In fact, the Government’s expert claimed to have analyzed the
12   cases of individuals now in dispute, and the Government has relied on that analysis in
13   its summary judgment briefing.
14         Nonetheless, after this Court granted relief to a large percentage of the class in
15   its preliminary injunction ruling, Respondents changed course. Petitioners first
16   learned of this development shortly before November 1, 2012, when they determined
17   that DHS attorneys and Immigration Judges were refusing to provide bond hearings to
18   class members detained for proceedings arising from reinstated removal orders,
19   notwithstanding this Court’s preliminary injunction order. See Kaufman Dec. at ¶ 9.
20         When Petitioners contacted Respondents about this problem, Respondents did
21   not immediately state their position on the issue. Instead, they requested more
22   information. Over the course of several weeks, Respondents continued to request
23   information concerning these cases and discussed the practice with Petitioners, but did
24   not explicitly take the position that these individuals fell outside of the class
25   definition. Respondents first took that position only on January 25, 2013 – over ten
26   weeks after Petitioners first expressed concern that class members were not being
27   afforded relief under this Court’s preliminary injunction ruling. Id. at ¶¶ 10-12.
28

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 1         As a result, the Government has now taken the position that people whom the
 2   Government had unambiguously treated as class members are no longer entitled to
 3   class membership, now that the preliminary injunction is in effect.
 4                                         ARGUMENT
 5         Without seeking leave of Court, Respondents unilaterally have exempted at
 6   least three groups of people from the class definition and, thus, the protections
 7   afforded by this Court’s preliminary injunction ruling and any future rulings in the
 8   case. These groups are: (1) people in removal proceedings initiated by the
 9   reinstatement of a removal order; (2) people in removal proceedings initiated by entry
10   of an administrative removal order under Section 1228(b); and (3) people in removal
11   proceedings who were admitted through the Visa Waiver Program. Because the
12   arguments concerning the first two groups largely overlap, Petitioners discuss those
13   groups together before discussing the third. For all three, the plain language of the
14   class definition and the purpose animating this litigation makes clear why these
15   individuals always were and should remain within the class.
16   I.    The Class Includes Individuals Detained for Reinstatement of Removal and
17         Section 1228(b) Removal Proceedings.
18         Respondents contend that people in removal proceedings following the
19   reinstatement of a removal order or issuance of a Section 1228(b) administrative
20   removal order fall outside the class because they are not in “removal proceedings.”
21   Under Respondents’ newly-narrowed class definition, the class includes only
22   individuals detained pursuant to proceedings initiated through issuance of a “notice to
23   appear,” even though these other removal proceedings are otherwise identical in all
24   material respects. The Court should reject this purported ground for narrowing the
25   class definition for three reasons. First, it is contrary to the plain language of the class
26   definition. Second, it is inconsistent with Respondents’ own past practice of treating
27   these individuals as class members. Finally, it would defeat the central purpose for
28   this class action, namely to protect “all” individuals detained for prolonged periods

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 1   under the general detention statutes without access to a bond hearing while their cases
 2   proceed through administrative and judicial review.
 3         A.     The Plain Language and Context of the Class Definition Make Clear
 4                that “Removal Proceedings” Is Not Used as a Narrow Technical
 5                Term.
 6         The class definition does not use the term “removal proceedings” to refer only
 7   to particular proceedings initiated by a “notice to appear,” but instead refers broadly to
 8   all proceedings whose purpose is to remove people from the United States. The
 9   Government’s argument to the contrary is insupportable for several reasons.
10         First, the class definition indisputably includes at least two groups of people
11   who are “not currently in removal proceedings initiated upon the filing of a Notice to
12   Appear,” and therefore outside the class definition as the government now interprets
13   it. Dkt. 302 at 3-4. For example, the class is defined to include people detained
14   pending “removal proceedings, including judicial review.” See Dkt. 77 (emphasis
15   added). People detained pending judicial review are not “in removal proceedings
16   initiated upon the filing of a Notice to Appear,” even under Respondents’ view,
17   because reviews conducted by federal courts are separate and distinct from
18   administrative removal proceedings, and occur only after administrative removal
19   proceedings have come to a final conclusion. See Lolong v. Gonzales, 484 F.3d 1173,
20   1176 (9th Cir. 2007) (en banc) (“[O]ur jurisdiction is limited to review of final orders
21   of removal.”). In addition, the class expressly includes people detained under Section
22   1231(a), which authorizes the detention of people who have administratively final
23   removal orders and remain detained pending litigation of their motions to reopen. See
24   generally Diouf v. Napolitano, 634 F.3d 1081 (9th Cir. 2011) (Diouf II) (concerning a
25   detainee held pending review of a motion to reopen). Respondents have repeatedly
26   acknowledged in this litigation – including in recent summary judgment briefing –
27   that such individuals are part of the class to the extent they seek relief greater than that
28   provided under existing law. See Dkt. 299 at 30 n.9. Yet such individuals are not “in

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 1   removal proceedings initiated upon the filing of a Notice to Appear.” To the contrary,
 2   their removal proceedings already have concluded, and they are being detained
 3   because they seek to reopen them.
 4         Second, at no point in this action have Petitioners, this Court, or the Ninth
 5   Circuit ever suggested that the term “removal proceedings” in the complaint and class
 6   certification order is limited to only one type of administrative removal proceeding –
 7   that is, removal proceedings “initiated upon the filing of a Notice to Appear.” To the
 8   contrary, the class definition broadly applies to “all” non-citizens with pending
 9   immigration cases who are detained under the “general detention” statutes.
10   Respondents have conceded that individuals with re-instated removal orders are
11   detained under the “general detention” statutes. See Dkt. 302 at 2-3 (acknowledging
12   that individual with reinstated removal order is detained under Section 1226(c)). 3
13   Nothing more is required for class membership.
14         Third, contrary to what Respondents may suggest, there is no question that
15   persons subject to reinstatement and administrative removal cases are in “removal
16   proceedings” as that phrase is commonly understood. When immigration officials
17   apprehend an individual who was previously issued a final order of removal, they
18   have the authority to “reinstate” that removal order and deport the person without any
19   further proceedings before an Immigration Judge, pursuant to 8 U.S.C. § 1231(a)(5).
20
     3
       The parties disagree as to which statute authorizes the detention of people with
21   reinstated removal orders at the time they are placed in removal proceedings.
22   Compare Dkt. 302 at 2-3 (arguing reinstatement case governed by Section 1226(c))
     with Dkt. 315 at 22 (arguing reinstatement cases are governed by Section 1226(a) and
23
     citing Ortiz-Alfaro v. Holder, 694 F. 3d 955, 958 (9th Cir. 2012)). However, this
24   disagreement is immaterial because the Ninth Circuit has now held that Sections
     1225(b) and 1226(c) have an “implicit temporal limitation” of six months, after which
25
     the authority for detention shifts to Section 1226(a). See Robbins v. Rodriguez, 2013
26   U.S. App. LEXIS 7565, 27 (9th Cir. Cal. Apr. 16, 2013). As such, under the Ninth
     Circuit’s order, all the class members at issue – who by definition have been detained
27
     more than six months – are detained under Section 1226(a), and this Court need not
28   resolve the question of what detention authority governs detention prior to six months.

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 1   However, if the apprehended individual expresses a fear of persecution or torture in
 2   his home country and can show that that fear is “reasonable,” the immigration laws
 3   require that the individual be afforded the opportunity to seek relief from removal in
 4   the form of withholding of removal or protection under the Convention Against
 5   Torture (“CAT”) through a hearing before an Immigration Judge.4 See 8 CFR §
 6   208.31; 8 CFR § 208.16 (describing process for reinstatement of removal and
 7   withholding-only proceedings).5 In short, the proceedings in reinstatement cases exist
 8   to determine whether such individuals should be removed from the United States.
 9         Similarly, people issued administrative removal orders under 8 U.S.C.
10   § 1228(b) are in “removal proceedings” for purposes of the class definition. If
11   immigration officials determine that an apprehended individual is present in the
12   United States without permission and has been convicted of an “aggravated felony,”
13   they have the authority to issue an administrative removal order under Section 1228(b)
14   without bringing the individual before an Immigration Judge. However, as with
15   reinstatement cases, if the individual expresses fear of persecution or torture and
16   demonstrates a “reasonable fear” of return, he is referred to the immigration courts for
17   adjudication of that claim. See 8 CFR § 238.1 (describing process for issuance of an
18   administrative removal order). In other words, these proceedings also exist for the
19   purpose of determining whether to “remove” someone from this country.
20
21
22
     4
       These forms of relief are available to individuals who face persecution or torture in
23
     their home countries, respectively. See 8 CFR § 208.16.
     5
24     In this respect, class members in withholding-only proceedings are functionally in
     the same position as asylum seekers stopped at a port of entry, who comprise the vast
25
     majority of the Section 1225(b) Subclass. In such asylum cases, the noncitizen is
26   referred to the immigration court for a hearing on his or her asylum claim, if he or she
     demonstrates a “credible fear” of persecution – a process very similar to the
27
     “reasonable fear” process employed in withholding-only cases. See
28   8 CFR § 208.30.

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 1         B.     Respondents’ Definition of the Class Contradicts Their Prior
 2                Representations and Practice in This Case.
 3         Perhaps most damning to Respondents’ efforts to unilaterally amend the class
 4   definition is the fact that Respondents and Respondents’ experts previously treated
 5   such individuals as class members. Among other things, Respondents represented to
 6   this Court and Petitioners that they produced the files of approximately 1,000 class
 7   members, and that they carefully identified class members and conducted reasonably
 8   diligent searches to produce the A files. Respondents’ expert, Dr. Palmer,
 9   subsequently excluded just two individuals because he determined they were not class
10   members, and Respondents have relied extensively upon Dr. Palmer’s analysis of the
11   remaining class members to oppose Petitioners’ motion for summary judgment, and to
12   support their own cross-motion.
13         However, even a cursory review of the A files has confirmed that they include
14   people with reinstated removal orders – i.e., whose removal proceedings did not
15   commence with a “notice to appear” and who therefore are not in “removal
16   proceedings” as the Government now defines that term. See Kaufman Decl. ¶¶ 6-8.
17   After vouching for the thoroughness and accuracy of their efforts to identify class
18   members, and then relying on data generated by analysis of their files, Respondents
19   should not be heard to dismiss the inclusion of these people as a product of oversight.
20   That Respondents chose to treat these individuals as class members when it produced
21   their files in discovery makes clear that the Government recognized them as class
22   members until its recent post-hoc attempt to narrow the scope of the class definition.
23         C.     No Valid Rationale Exists For Adopting Respondents’ Proposed
24                Limitation of the Class Definition.
25         Were the plain language of the class definition and Respondents’ past practice
26   not sufficient, the Court still should conclude that the disputed individuals are class
27   members. There is no justification for distinguishing between the noncitizens whom
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 1   Respondents wish to exclude (individuals with reinstated or administrative removal
 2   orders), and other individuals indisputably considered part of the certified class.
 3         Like other class members, these individuals have been subject to prolonged
 4   incarceration without access to a bond hearing while their cases proceed through
 5   administrative and judicial review. Moreover, the proceedings in reinstatement and
 6   Section 1228(b) cases are identical in all meaningful respects to the proceedings for
 7   all other class members. The immigration court hearings are conducted in the same
 8   courtrooms before the same immigration judges, follow the same procedures, and
 9   provide the same rights with respect to the class members’ claims for immigration
10   relief: the right to the assistance of counsel at no expense to the government; the right
11   to a hearing before the immigration judge on their claims at which they can present
12   evidence and examine witnesses; and the right to seek administrative and judicial
13   review in the event of an unfavorable decision. See 8 CFR § 208.31; 8 CFR § 238.1.
14         The harm these individuals suffer is well-illustrated by the case of Jose Galvan-
15   Avila, a class member with a reinstated removal order who was forced to file a habeas
16   petition pro se because of Respondents’ unilateral decision to narrow the class
17   certification order. At the time he filed his habeas petition, Mr. Galvan-Avila had
18   been detained for well over a year but had yet to receive a merits hearing on his claims
19   for relief before the immigration court. See Dkt. 296-1 at 3 (habeas petition) (first
20   detained in January, 2012); Dkt. 302 at 2 (merits hearings scheduled for April 18,
21   2013).6 Many individuals in withholding-only proceedings, including Mr. Galvan-
22   Avila, have resided in the United States for some period prior to their apprehension by
23   immigration authorities, have family members in the United States, and have other
24   strong community ties. See id. at 4, 7 (petitioner has resided in United States since
25   elementary school, has steady work history, his entire family are United States citizens
26   or lawful permanent residents, and he is the “bread winner” for his wife and three
27   6
      Petitioners filed a notice of related case for Mr. Galvan-Avila’s habeas case on
28   March 8, 2013. See Dkt. 296.

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 1   children). Moreover, because individuals can be subject to reinstatement based on any
 2   prior removal order (even if they did not commit a criminal offense that resulted in
 3   their removal), many may have minor criminal histories or none at all. Mr. Galvan-
 4   Avila and other individuals like him thus fall squarely within the class of people on
 5   whose behalf Petitioners brought this case.
 6         To exclude individuals like Mr. Galvan-Avila from the class would not only run
 7   afoul of this Court’s certification order, it would also contravene the Ninth Circuit’s
 8   rationale for ordering certification in this case: to “facilitate development of a uniform
 9   framework for analyzing detainee claims to a bond hearing” that “would render
10   management of these claims more efficient for the courts” and “also benefit many of
11   the putative class members by obviating the severe practical concerns that would
12   likely attend them were they forced to proceed alone.” Rodriguez, 591 F.3d at 1123.
13   Respondents’ purported exemptions invite precisely the harms the Ninth Circuit
14   sought to avoid by forcing “exempt” individuals to proceed alone to obtain relief from
15   unlawful detention, and burdening the courts with individual habeas cases.
16   II.   The Class Includes Individuals Detained After Being Admitted Under the
17         Visa Waiver Program.
18         Respondents also purport to exclude from the class individuals who came to the
19   United States under the Visa Waiver Program and have been detained for more than
20   six months while they seek asylum. Like other class members, such individuals are
21   detained pending a determination of whether they may remain in the United States.
22   As a result, their detention is governed by Section 1226(a), under which they qualify
23   as class members.
24         Nonetheless, Respondents contend that such individuals should be deemed
25   detained under a different statute – 8 U.S.C. § 1187(c)(2)(E). See Dkt. 299 at 10 n.9.
26   The first problem with this argument is that Section 1187(c)(2)(E) provides no
27   detention authority. The words “detention” or “custody” cannot be found in Section
28   1187(c)(2)(E). The closest thing to detention authority in that statute is language in a

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 1   subparagraph that states that the provision creates no duty or right with respect to
 2   release. See 8 U.S.C. §1187(c)(2)(E). In an analogous context, the Supreme Court
 3   made clear that such references to other immigration detention authority cannot
 4   “affirmatively authorize[] detention, much less indefinite detention.” Clark v.
 5   Martinez, 543 U.S. 371, 385 (2005) (rejecting argument that Section 1182(d)(5)(A)
 6   authorizes detention).
 7         Respondents have previously cited a BIA decision, Matter of A-W-, 25 I&N
 8   Dec. 45 (BIA 2009) as supporting their claim that persons who arrived under the Visa
 9   Waiver Program are detained under Section 1187(c)(2)(E). See Dkt. 299 at 10 n.9.
10   But A-W- relies on separate regulatory provisions to hold that Immigration Judges lack
11   authority to release such individuals on bond. Id. at 47-48. Whatever the merit of that
12   claim as to individuals detained for short periods of time, neither the decision nor the
13   regulations on which it relies speak explicitly to cases of prolonged detention. Cf. V.
14   Singh v. Holder, 638 F.3d 1196, 1203 (9th Cir. Cal. 2011) (construing regulations not
15   to apply to Casas hearings).
16         The second problem with Respondents’ position is that they previously
17   represented to Petitioners and this Court that people who entered through the Visa
18   Waiver Program are class members. As with individuals subject to reinstatement
19   proceedings, Respondents produced in discovery the file of at least one individual
20   who entered on the Visa Waiver Program, and they relied on the data of that
21   individual in their analysis of the class for purposes of their summary judgment
22   briefing. See Kaufman Decl. ¶ 7. As with reinstatement cases, Respondents’ prior
23   treatment of this group of individuals as class members is fatal to their post-hoc
24   attempt to exclude them from the class.
25                                       CONCLUSION
26         For the foregoing reasons, Petitioners respectfully request that this Court clarify
27   its class certification orders and reject Respondents’ attempt to introduce additional a-
28   textual carve-outs from the class definition. Given the likelihood that Respondents

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 1   will attempt to identify further individuals who do not qualify as class members,
 2   Petitioners also request that the Court require Respondents to provide notice to
 3   Petitioners and the Court when they determine that other individuals are not class
 4   members despite their having been detained for more than six months without a bond
 5   hearing under the general immigration detention statutes, and do not otherwise fall
 6   within one of the three expressly enumerated exceptions in the class definition.
 7
 8                                                  Respectfully submitted,
 9                                                  ACLU OF SOUTHERN CALIFORNIA
10
     Dated: May 6, 2013                              /s/ Michael Kaufman_____
11                                                  MICHAEL KAUFMAN
                                                    Counsel for Petitioners
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